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Case 2:1O-cV-00590-TSZ Document 25 Filed 05/14/10 Page 1 of 3

UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF VVASH|NGTON
AT SEATTLE
JEFF SHERR|LL, on behalf of himself and a NO. 10~00590

class of those similarly situated,
CORPORATE D|SCLOSURE

P|aintif'f, STATEMENT
v. COLLECT|VE ACT|ON
PRE|V|ERA BLUE CROSS; L|FEWISE CLASS ACT|ON

HEALTH PLAN OF OREGON; and
L|FEW|SE ASSURANCE CO.,

Defendants.

 

 

 

Pursuant to Ru|e 7.1 of the Federa| Ru|es of Civil Procedure:

1. Defendant Premera Blue Cross hereby discloses that it is wholly
owned by Premera, a nonprofit corporation under RCW 24.06.

2. Defendant Lifewise Health Plan of Oreqon hereby discloses that it is
wholly owned by Ucentris insured Solutions, lnc., a Washington for profit
corporation. Ucentris insured Solutions, lnc.1 is wholly owned by Premera Blue
Cross.

3. Defendant Lifewise Assurance Co. hereby discloses that it is wholly

 

owned by Ucentris lnsured Solutions, lnc., a Washington for profit corporation.

Ucentris insured So|utions, lnc., is wholly owned by Premera Blue Cross.

RIDDELL WILLIAMS P.S.

CORPORATE D|SCLOSURE STATEl\/|ENT 1001 FouRTHAvENuEPLAzA

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Case 2:1O-cV-00590-TSZ Document 25 Filed 05/14/10 Page 2 of 3

DATED this 14th day of i\/iay, 2010.
RiDDELL wiLLiAi\/is P_s.

By learen F. Jones
Karen F, Jones, WSBA #14987
Karl J. Quackenbush, WSBA #9602
Laurence A. Shapero, WSBA #31301
Gena l\/l. Bomotti, WSBA #39330
Attorneys for Defendants

RIDDELL WILLIAMS P.S.

CORPORATE D|SCLOSURE STATE|V|ENT 1001 FOURTHAvE~uEPLAzA

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Case 2:1O-cV-OO590-TSZ Document 25 Filed 05/14/10 Page 3 of 3

CERT|F|CATE OF SERV|CE

l hereby certify that ch the 14th day cf l\/ley, 2010, l electronically filed the
foregoing CORPORATE D|SCLOSURE STATEl\/IENT using the Cl\/l/ECF system

which will send notification of such filing to:

o Kelly M Dermody
kdermody@lchb.com,epeterson@lchb.com

o Jahan C. Sagafi
jsagafi@lchb.com,rdempsey@|chb.com

. Anne B. Shaver
ashaver@lchb.com,jsagafi@lchb.com

¢ Michael C Subit
msubit@frankfreed.com,szimmerman@frankfreed.com

DATED May14,2010.

 

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RIDDELL WILLIAMS P.S.
CORPORATE D|SCLOSURE STATEMENT 1°°1F°§:|TTHE";V5E(;“:EPLAZA
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